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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                         Hon. Hala Y. Jabour
v.
                                                         Case No. 1:20-cr-00146
MONQUEL DEJUAN-LEE PAULK,

      Defendant.
________________________________/
                                      ORDER


      Defendant appeared before me on October 15, 2020, with appointed counsel for

a detention hearing under the Bail Reform Act of 1984, 18 U.S.C. § 3142(f). After

being advised of his rights, including those attendant to a detention hearing,

defendant waived his right to the hearing. I find that his waiver was knowingly and

voluntarily entered.

      Accordingly, IT IS ORDERED that defendant is committed to the custody of

the Attorney General pending trial.

      DONE AND ORDERED on October 16, 2020.




                                             /s/ Phillip J. Green
                                            PHILLIP J. GREEN
                                            United States Magistrate Judge
